           Case: 23-2644    Document: 2            Filed: 08/24/2023      Pages: 3


                                        No. 23-2644

                                  IN THE
                      UNITED STATES COURT OF APPEALS
                         FOR THE SEVENTH CIRCUIT


MICHAEL J. BOST, LAURA
POLLASTRINI, and SUSAN SWEENEY,
                                                      Appeal from the U.S. District
                                                      Court for the Northern District of
               Plaintiffs-Appellants,
                                                      Illinois, Eastern Division
          v.
                                                      No. 1:22-cv-02754
ILLINOIS STATE BOARD OF
ELECTIONS and BERNADETTE
MATTHEWS, in her official capacity as
                                                      The Honorable
Executive Director, Illinois State Board of
                                                      JOHN F. KNESS,
Elections,
                                                      Judge Presiding.
               Defendants-Appellees.


                   NOTICE OF SUBSTITUTE APPEARANCE

      Kwame Raoul, Attorney General of the State of Illinois, enters the substitute

appearance of Deputy Solicitor General Alex Hemmer, replacing Assistant Attorney

General Nadine Wichern as counsel for Defendants-Appellees in the above-captioned

matter.




Dated: August 24, 2023                          Respectfully submitted,

                                                KWAME RAOUL
                                                Attorney General
                                                State of Illinois

                                         By: /s/ Alex Hemmer
                                             ALEX HEMMER


                                            1
Case: 23-2644   Document: 2          Filed: 08/24/2023   Pages: 3


                                  Deputy Solicitor General
                                  100 West Randolph Street, 12th Floor
                                  Chicago, Illinois 60601
                                  (312) 814-5526
                                  alex.hemmer@ilag.gov




                              2
          Case: 23-2644     Document: 2          Filed: 08/24/2023     Pages: 3


                   CERTIFICATE OF FILING AND SERVICE

      I certify that on August 24, 2023, I electronically filed this Notice of

Appearance with the Clerk of the Court for the United States Court of Appeals for

the Seventh Circuit using the CM/ECF system.

      All other participants in this case are CM/ECF users and will be served by that

system.



                                             /s/ Alex Hemmer
                                             ALEX HEMMER
